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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS



LAMONTE MCINTYRE, et al.,

               Plaintiff,

v.                                                          Case No. 2:18-cv-02545-KHV-KGG

UNIFIED GOVERNMENT OF WYANDOTTE
COUNTY AND KANSAS CITY, KS, et al.,

               Defendants.


                   PLAINTIFFS’ RESPONSE TO BRIAN BETTS’S
                 MOTION TO INTERVENE FOR A LIMITED PURPOSE

       On October 3, 2022, Brian E. Betts filed a motion to intervene in this action for the

limited purpose of seeking the removal of obstacles to access information regarding the above-

captioned matter. Doc. 719, 720. Plaintiffs understand that Mr. Betts’s objectives in intervening

are two-fold: (1) to file a motion to vacate the Court’s order allowing certain documents to be

filed under seal (Doc. 644); and (2) to file a motion to modify the Court’s protective order that

created certain categories of Confidential Information and allowed certain documents to be

marked “Attorneys Eyes Only” (Doc. 124). See Docs. 694; 695, at 1. Plaintiffs do not oppose

Mr. Betts’s intervention in the present matter for these purposes.1

       Plaintiffs agree that Mr. Betts, an individual claiming he is directly impacted by this

litigation due to his own wrongful conviction, may intervene in this case for the limited purpose


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  Plaintiffs’ Response should not be read to support the complete vacatur of the Court’s order
allowing the sealing of certain documents nor to support the complete modification of the
protective order, Docs. 644 and 124, respectively. If Mr. Betts’s Motion to Intervene is
successful and it subsequently submits the motions to vacate and modify as described, Plaintiffs
will provide their arguments in regard to the unsealing or disclosure of specific documents at that
time.
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of obtaining information about the facts underlying the case. See United Nuclear Corp. v.

Cranford Ins. Co., 905 F.2d 1424, 1427 (10th Cir. 1990); see also Barnwell v. Corrs. Corp. of

Am., No. 08-2151-JWL, 2009 WL 10645266, at *3 (D. Kan. Aug. 27, 2009). Additionally,

Plaintiffs agree with Mr. Betts that his intervention is timely. United Nuclear Corp., 905 F.2d at

1426 (allowing third-party intervention to challenge a protective order still in effect for a case

that settled three years prior). Lastly, in brief response to Mr. Betts’s argument regarding prong

three of the test for standing—redressability—Plaintiffs confirm they may be willing to provide

certain information if they are no longer restrained by the protective order. See Doc. 720 at 8.

       For the reasons stated above, Plaintiffs do not oppose Mr. Betts’s intervention in this

matter for the above-described limited purposes.


Dated: October 17, 2022                        Respectfully submitted,

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